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                                     UNITED STATES DISTRICT COURT

                                       DISTRICT OF MASSACHUSETTS
       _______________________________
       Michael J. Healy Pro Se                   )
       Plaintiff.                                        )
       VS.                                       )               1:16-cv -11669-GAO
       .              .                                  )
       US.BANK MASTER LSF9                           )
       PARTICIPATION TRUST                           )
       .                                                 )
       DEFENDANT                                     )




                      The Plaintiff as a Friend of this      Honorable Court and with the ut most respect requires
       an enlargement of time thirty days and re set of deadline to file appeal in civil case ;               1:16 -cv -
       11669 -GAO to November 5, 2018.



       Plaintiff is submitting this document while coming to terms with the                  recent passing of his father
       James SeamusFelix Francis Healy at 5:25 pm. On 4 ,Sept ,2018                   . Late in July 2018 Mr. Healy had
       Surgery for the third and final time, followed by Wasting, with a diagnosis of an in operable
       cancer. A short time later Palliati ve care, Hospice, unavoidable Passing from this Life to Gods
       promise of Eternal Life, P eace and Tranquility through, Jesus Crist O ur Lord and Savior . Mr.
                    Obituary appeared in the Cape Cod Times on Sunday September 9, 2018.
       www.capecodtimes.com

           The Plain tiff, Michael James Healy, Thanks this Honorable Court               for their understanding in
       this tragic, all too common condition , Cancer . Plaintiff shall, if it Please the Court submit the,
       afore mentioned Appeals Docume ntation no later than November                       5, 2018.

                                                                         Respectfully, Michael J. Healy, Pro Se,

                                                                                                         Plaintiff




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